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                         UNITED STATES DISTRICT COURT
15                      CENTRAL DISTRICT OF CALIFORNIA
16                            WESTERN DIVISION
17
     ARTURO CABALLERO,                      ) Case No. __2:20-cv-04168-SP
18                                          )
                                            )
19         Plaintiff,                       ) JUDGMENT OF REMAND
                                            )
20                v.                        )
                                            )
21   ANDREW SAUL,                           )
     Commissioner of Social Security,       )
22                                          )
                                            )
23         Defendant.                       )
                                            )
24                                          )
25   ///
26   ///
27   ///
28   ///
Case 2:20-cv-04168-SP Document 26 Filed 04/30/21 Page 2 of 2 Page ID #:543




 1         The Court having approved the parties’ Stipulation to Voluntary Remand
 2   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
 3   (“Stipulation to Remand”) lodged concurrent with the lodging of the within
 4   Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
 5   DECREED that the above-captioned action is remanded to the Commissioner of
 6   Social Security for further proceedings consistent with the Stipulation to Remand.
 7
 8   DATED: April 30, 2021
 9                                         HON. SHERI PYM
                                           UNITED STATES MAGISTRATE JUDGE
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